






NO. 07-04-0590-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MARCH 13, 2006



______________________________




ROBERT D. HUDSON, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-405111; HONORABLE JIM BOB DARNELL, JUDGE



_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

	Following a plea of not guilty, appellant Robert D. Hudson was convicted by a jury
of murder and sentenced to life imprisonment.  In presenting this appeal, counsel has filed
an Anders (1) brief in support of a motion to withdraw.  We grant counsel's motion and affirm.

	In support of his motion to withdraw, counsel certifies he has diligently reviewed the
record and, in his opinion, the record reflects no reversible error upon which an appeal can
be predicated.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967);
Monroe v. State, 671 S.W.2d 583, 585 (Tex.App.-San Antonio 1984, no pet.). Thus, he
concludes the appeal is frivolous.  In compliance with High v. State, 573 S.W.2d 807, 813
(Tex.Cr.App. 1978), counsel has candidly discussed why, under the controlling authorities,
there is no error in the trial court's judgment.  Counsel has also shown that he sent a copy
of the brief to appellant and informed appellant that, in counsel's view, the appeal is without
merit.  In addition, counsel has demonstrated that he notified appellant of his right to review
the record and file a pro se response if he desired to do so.  Appellant did not file a
response.  Neither did the State favor us with a brief.

	By his Anders brief, counsel raises several grounds that could arguably support an
appeal.  We have reviewed these grounds and made an independent review of the entire
record to determine whether there are any arguable grounds which might support an
appeal.  See  Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988);
Bledsoe v. State, 178 S.W.3d 824 (Tex.Cr.App. 2005).  We have found no such grounds
and agree with counsel that the appeal is frivolous.

	Accordingly, counsel's motion to withdraw is hereby granted and the judgment of the
trial court is affirmed.

						Don H. Reavis

						    Justice


Do not publish.
1. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).


